       Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 1 of 27



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 8   Defendant PREMIER NUTRITION CORPORATION
     f/k/a JOINT JUICE, INC.
 9
                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11

12
     MOSES SIMMONS, individually and on          Case No. 3:16-CV-07078-RS
13   behalf of all others similarly situated,
                                                 Hon. Richard Seeborg
14
                   Plaintiff,                    PREMIER NUTRITION
15                                               CORPORATION’S ANSWER TO
              v.                                 PLAINTIFF MOSES SIMMONS’ FIRST
16                                               AMENDED COMPLAINT
     PREMIER NUTRITION CORPORATION
17   f/k/a JOINT JUICE, INC.                     CLASS ACTION

18                 Defendant.
                                                 Action Filed: December 12, 2016
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                                                 Jury Trial Demanded
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                                                         PREMIER NUTRITION CORPORATION’S
                                                      ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                       AMENDED COMPLAINT
     21478775-v2
       Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 2 of 27



 1            Defendant Premier Nutrition Corp. (“Premier”) answers the purported Class Action
 2   Complaint of Plaintiff Moses Simmons (“Plaintiff”) as follows. Unless otherwise expressly
 3   stated below, Premier denies each and every allegation of the Complaint.
 4                                     NATURE OF THE ACTION
 5            1.     Paragraph 1 of Plaintiff’s Complaint contains legal conclusions, and to that
 6   extent does not require an answer. To the extent that Paragraph 1 requires an answer, Premier
 7   admits that it sells the “Joint Juice” products (hereinafter the “Products”) as a dietary
 8   supplement to help maintain and support joint well-being, as limited by the disclaimer on the
 9   Products’ labeling and Joint Juice website and television advertising that states that the Products
10   “are not intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers
11   to Premier’s advertising, marketing, packaging, and/or Product labeling, that material speaks for
12   itself. Premier denies each and every other allegation in Paragraph 1 not specifically admitted.
13            2.     Answering Paragraph 2 of Plaintiff’s Complaint, Premier admits that it sells the
14   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
15   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
16   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
17   Paragraph 2 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
18   material speaks for itself. Premier denies each and every other allegation in Paragraph 2 not
19   specifically admitted.
20            3.     Answering Paragraph 3 of Plaintiff’s Complaint, Premier admits that it sells the
21   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
22   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
23   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
24   Paragraph 3 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
25   material speaks for itself. Premier denies each and every other allegation in Paragraph 3 not
26   specifically admitted.
27            4.     Answering Paragraph 4 of Plaintiff’s Complaint, Premier admits that it sells the
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                                                       -2-
                                                                 PREMIER NUTRITION CORPORATION’S
                                                              ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                               AMENDED COMPLAINT
     21478775-v2
       Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 3 of 27



 1   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
 2   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
 3   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
 4   Paragraph 4 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
 5   material speaks for itself. Premier denies each and every other allegation in Paragraph 4 not
 6   specifically admitted.
 7            5.    Paragraph 5 of Plaintiff’s Complaint contains legal conclusions, and to that
 8   extent does not require an answer. Premier admits that it has sold over $100 million dollars of
 9   the Products in the past nine years. Premier denies each and every other allegation in Paragraph
10   5 not specifically admitted.
11            6.    Paragraph 6 of Plaintiff’s Complaint contains legal conclusions, and to that
12   extent does not require an answer. To the extent that Paragraph 6 requires an answer, Premier
13   denies each of the allegations contained in Paragraph 6.
14            7.    Paragraph 7 of Plaintiff’s Complaint contains legal conclusions, and to that
15   extent does not require an answer. To the extent that Paragraph 7 requires an answer, Premier
16   denies each of the allegations contained in Paragraph 7.
17                                   JURISDICTION AND VENUE
18            8.    Paragraph 8 of Plaintiff’s Complaint contains legal conclusions, and to that
19   extent does not require an answer.
20            9.    Paragraph 9 of Plaintiff’s Complaint contains legal conclusions, and to that
21   extent does not require an answer. To the extent that Paragraph 9 requires an answer, Premier
22   admits that it has marketed, promoted, distributed, and sold the Products in California.
23            10.   Paragraph 10 of Plaintiff’s Complaint contains legal conclusions, and to that
24   extent does not require an answer. To the extent that Paragraph 10 requires an answer, Premier
25   admits that it conducts business and is headquartered in the District.
26            11.   Paragraph 11 of Plaintiff’s Complaint contains legal conclusions, and to that
27   extent does not require an answer. To the extent that Paragraph 11 requires an answer, Premier
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                                                       -3-
                                                                PREMIER NUTRITION CORPORATION’S
                                                             ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                              AMENDED COMPLAINT
     21478775-v2
       Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 4 of 27



 1   admits that it is currently headquartered in Emeryville, California, which is in Alameda County.
 2                                              PARTIES
 3   Plaintiff
 4            12.   Answering Paragraph 12 of Plaintiff’s Complaint, Premier lacks sufficient
 5   knowledge or information to form a belief as to where Mr. Simmons resides, his state of
 6   citizenship, whether he in fact purchased the referenced Product, his belief regarding the
 7   Product or its related advertisements and labeling, and his reasons for allegedly purchasing the
 8   Product; on that basis, Premier denies these allegations in Paragraph 12. To the extent
 9   Paragraph 12 refers to the labels on the Product, the labels speak to themselves. Premier denies
10   each and every other allegation in Paragraph 12.
11            13.   Answering Paragraph 13 of Plaintiff’s Complaint, Premier lacks sufficient
12   knowledge or information to form a belief as to Mr. Simmons’ beliefs regarding the Product or
13   its related advertisement and labeling, and his reasons for allegedly purchasing the Product; on
14   that basis, Premier denies these allegations in Paragraph 13. Premier denies each and every
15   other allegation in Paragraph 13.
16   Defendant
17            14.   Answering Paragraph 14 of Plaintiff’s Complaint, Premier admits that it is a
18   Delaware corporation. Premier admits that, as of the date the Complaint was filed, it was
19   headquartered at 5905 Christie Avenue, Emeryville, California, 94608; effective October, 2018,
20   Premier is headquartered at 1222 67th Street, Suite 210, Emeryville, CA, 94608. Premier admits
21   that it was previously headquartered at 188 Spear Street, Suite 600, San Francisco, California
22   94105. Premier admits that, as of August 2013, it became a wholly owned subsidiary of Post
23   Holdings, Inc. Premier admits that it is a manufacturer of high-protein nutrition products,
24   including ready-to-drink shakes, bars, powders, and cookies. Premier admits that it has
25   manufactured, advertised, marketed, distributed, and/or sold the referenced Products throughout
26   the United States, including its website. Premier admits that its Chief Executive Officer, Chief
27   Financial Officer, Chief Operating Officer, research and development personnel, and customer
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                                                        -4-
                                                                 PREMIER NUTRITION CORPORATION’S
                                                              ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                               AMENDED COMPLAINT
     21478775-v2
       Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 5 of 27



 1   service personnel have been located in California, however, not all marketing or sales
 2   employees have been located in California. Premier admits that its advertising agency was
 3   located in San Francisco. The term “retail distribution vendor” is vague and ambiguous, and
 4   therefore Premier lacks sufficient knowledge or information to admit or deny the allegations
 5   regarding its “retail distribution vendor.” Premier denies each and every other allegation in
 6   Paragraph 14.
 7            15.    Answering Paragraph 15 of Plaintiff’s Complaint, Premier admits that Joint Juice
 8   was formerly a California corporation headquartered at 120 Howard Street, Suite 600, San
 9   Francisco, California 94105. Premier admits that it was formerly known as Joint Juice, Inc. and
10   under that name it manufactured, advertised, marketed, distributed, and sold the Products
11   throughout the United States. Premier admits that the date of the acquisition described in
12   Paragraph 15 is accurate. Premier denies each and every other allegation in Paragraph 15.
13            16.    Answering Paragraph 16 of Plaintiff’s Complaint, Premier admits that the former
14   CEO of Premier had worked out of San Francisco and that an advertising agency used by Joint
15   Juice was located in San Francisco; however, not all marketing employees have been located in
16   California. Premier admits that the current President of Premier works from Emeryville.
17   Premier admits that the Products were originally developed by Dr. Kevin Stone at the Stone
18   Clinic in San Francisco. Premier denies each and every other allegation in Paragraph 16.
19                                    FACTUAL ALLEGATIONS
20   The Joint Juice Products
21            17.    Answering Paragraph 17 of Plaintiff’s Complaint, Premier denies that it has
22   distributed, marketed, and/or sold the Products since 1999.
23            18.    Answering Paragraph 18 of Plaintiff’s Complaint, Premier admits that the
24   Products have been sold by the third-party retailers listed in Paragraph 18 and through its
25   website.
26            19.    Answering Paragraph 19 of Plaintiff’s Complaint, Premier admits that the
27   Products have been sold as drink mix packets, eight-ounce beverage bottles, and “Easy Shot”
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                                                      -5-
                                                                PREMIER NUTRITION CORPORATION’S
                                                             ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                              AMENDED COMPLAINT
     21478775-v2
         Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 6 of 27



 1   bottles. However, the Products are often sold at discounts and retail prices have varied. Premier
 2   denies each and every allegation in Paragraph 19 not specifically admitted.
 3            20.    Answering Paragraph 20 of Plaintiff’s Complaint, Premier admits that the
 4   Products contain 1,500 mg of glucosamine hydrochloride plus chondroitin. To the extent
 5   Paragraph 20 refers to the Product packaging, the packaging speaks for itself.
 6            21.    Answering Paragraph 21 of Plaintiff’s Complaint, Premier admits that the
 7   allegations in Paragraph 21; however, glucosamine used in Premier’s Products has also been
 8   derived from vegetarian sources.
 9            22.    Answering Paragraph 22 of Plaintiff’s Complaint, Premier admits that some
10   other glucosamine products contain glucosamine sulfate.
11            23.    Answering Paragraph 23 of Plaintiff’s Complaint, Premier admits the allegations
12   in Paragraph 23.
13            24.    Answering Paragraph 24 of Plaintiff’s Complaint, Premier denies that
14   glucosamine hydrochloride is always less expensive than glucosamine sulfate.
15            25.    Answering Paragraph 25 of Plaintiff’s Complaint, to the extent Paragraph 25
16   references a scientific study, the study speaks for itself. Premier lacks sufficient knowledge or
17   information to admit or deny each and every other allegation in Paragraph 25.
18            26.    Answering Paragraph 26 of Plaintiff’s Complaint, Premier admits the allegations
19   in Paragraph 26.
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20   Defendant’s False and Deceptive Advertising for the Joint Juice Products
21            27.    Answering Paragraph 27 of Plaintiff’s Complaint, Premier admits that it sells the
22   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
23   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
24   intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to
25   Premier’s advertising, marketing, packaging, and/or Product labeling, that material has varied
26
     1
27    Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
     statement requires an answer, Premier denies this allegation in its entirety.
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                                                       -6-
                                                                 PREMIER NUTRITION CORPORATION’S
                                                              ANSWER TO PLTF. MOSES SIMMONS’ FIRST
         Case No. 3:16-CV-07078-RS                                             AMENDED COMPLAINT
     21478775-v2
       Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 7 of 27



 1   over time and speaks for itself. Premier denies each and every other allegation in Paragraph 27
 2   not specifically admitted.
 3            28.   Answering Paragraph 28 of Plaintiff’s Complaint, Premier admits that
 4   glucosamine hydrochloride and chondroitin sulfate are active ingredients in the Products. To the
 5   extent Plaintiff refers to Premier’s advertising, marketing, packaging, and/or Product labeling,
 6   that material speaks for itself. Premier denies each and every other allegation in Paragraph 28
 7   not specifically admitted.
 8            29.   Answering Paragraph 29 of Plaintiff’s Complaint, Premier admits that it sells the
 9   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
10   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
11   intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to
12   Premier’s advertising, marketing, packaging and/or Product labeling, that material speaks for
13   itself. Premier denies each and every other allegation in Paragraph 29 not specifically admitted.
14            30.   Answering Paragraph 30 of Plaintiff’s Complaint, to the extent the allegations in
15   Paragraph 30 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
16   material speaks for itself. Premier denies each and every other allegation in Paragraph 30.
17            31.   Answering Paragraph 31 of Plaintiff’s Complaint, Premier admits that it sells the
18   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
19   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
20   intended to diagnose, treat, cure or prevent any disease.” To the extent the allegations in
21   Paragraph 31 refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that
22   material speaks for itself. Premier denies each and every other allegation in Paragraph 31 not
23   specifically admitted.
24            32.   Paragraph 32 of Plaintiff’s Complaint contains legal conclusions, and to that
25   extent does not require an answer. To the extent the allegations in Paragraph 32 require an
26   answer, and to the extent the allegations refer to Premier’s advertising, marketing, packaging,
27   and/or Product labeling, that material speaks for itself. To the extent the allegations in
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                                                       -7-
                                                                 PREMIER NUTRITION CORPORATION’S
                                                              ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                               AMENDED COMPLAINT
     21478775-v2
       Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 8 of 27



 1   Paragraph 32 do not accurately reflect the above-mentioned material, Premier denies the
 2   allegations. Premier denies each and every other allegation in Paragraph 32 not specifically
 3   admitted.
 4            33.   To the extent the allegations in Paragraph 33 refer to any of Premier’s
 5   advertising, marketing, packaging, and/or Product labeling, including on its website, that
 6   material speaks for itself. Premier denies each and every other allegation in Paragraph 33.
 7            34.   Answering Paragraph 34 of Plaintiff’s Complaint, Premier admits that former
 8   professional football player Joe Montana was a spokesman for the Products. To the extent the
 9   allegations in Paragraph 34 refer to Premier’s advertising, marketing, packaging, and/or Product
10   labeling, including Joe Montana’s statements for Premier’s television commercial, that material
11   speaks for itself. Premier denies each and every other allegation in Paragraph 34 not specifically
12   admitted.
13            35.   Answering Paragraph 35 of Plaintiff’s Complaint, Premier admits that Products’
14   packaging features the Arthritis Foundation Logo. To the extent the allegations in Paragraph 35
15   refer to Premier’s advertising, marketing, packaging, and/or Product labeling, that material
16   speaks for itself. Premier denies each and every other allegation in Paragraph 35 not specifically
17   admitted.
18            36.   To the extent the allegations in Paragraph 36 refer to Premier’s packaging,
19   advertising, marketing, and/or Product labeling, that material speaks for itself. Premier denies
20   each and every other allegation in Paragraph 36 not specifically admitted.
21            37.   Answering Paragraph 37 of Plaintiff’s Complaint, Premier admits that the
22   pictures included in Plaintiff’s Complaint appear to be accurate, partial representations of the
23   current packaging of certain Products.
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                                                       -8-
                                                                PREMIER NUTRITION CORPORATION’S
                                                             ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                              AMENDED COMPLAINT
     21478775-v2
         Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 9 of 27



 1   Scientific Studies Confirm That Joint Juice Is Not Effective And Defendant’s Health Benefits
                                       2
 2   Message Is False And Deceptive
 3            38.    Answering Paragraph 38 of Plaintiff’s Complaint, Premier denies the allegations
 4   in Paragraph 38.
 5            39.    Answering Paragraph 39 of Plaintiff’s Complaint, Premier admits that Paragraph
 6   39 accurately quotes the Reference Manual on Scientific Evidence. Premier denies that all meta-
 7   analysis studies have concluded that glucosamine and chondroitin do nothing. Premier denies
 8   each and every other allegation in Paragraph 39 not specifically admitted.
 9            40.    Without admitting that the study cited in Paragraph 40 of Plaintiff’s Complaint is
10   relevant to this action, that study speaks for itself and, on that basis, Paragraph 40 does not
11   require an answer. However, to the extent the allegations in Paragraph 40 do not accurately
12   reflect the study, Premier denies the allegations.
13            41.    Without admitting that the study cited in Paragraph 41 of Plaintiff’s Complaint is
14   relevant to this action, that study speaks for itself and, on that basis, Paragraph 41 does not
15   require an answer. However, to the extent the allegations in Paragraph 41 do not accurately
16   reflect the study, Premier denies the allegations.
17            42.    Without admitting that the study cited in Paragraph 42 of Plaintiff’s Complaint is
18   relevant to this action, that study speaks for itself and, on that basis, Paragraph 42 does not
19   require an answer. However, to the extent the allegations in Paragraph 42 do not accurately
20   reflect the study, Premier denies the allegations.
21            43.    Without admitting that the study cited in Paragraph 43 of Plaintiff’s Complaint is
22   relevant to this action, that study speaks for itself and, on that basis, Paragraph 43 does not
23   require an answer. However, to the extent the allegations in Paragraph 43 do not accurately
24   reflect the study, Premier denies the allegations.
25            44.    Answering Paragraph 44 of the Complaint, Plaintiff does not identify the studies
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     2
27    Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
     statement requires an answer, Premier denies this allegation in its entirety.
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                                                          -9-
                                                                   PREMIER NUTRITION CORPORATION’S
                                                                ANSWER TO PLTF. MOSES SIMMONS’ FIRST
         Case No. 3:16-CV-07078-RS                                               AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 10 of 27



 1   on which he bases his allegations and accordingly, Premier lacks sufficient knowledge or
 2   information to form a belief as to those studies.
 3            45.    Without admitting that the study cited in Paragraph 45 of Plaintiff’s Complaint is
 4   relevant to this action, that study speaks for itself and, on that basis, Paragraph 45 does not
 5   require an answer. However, to the extent the allegations in Paragraph 45 do not accurately
 6   reflect the study, Premier denies the allegations. Premier denies remaining allegations in
 7   Paragraph 45.
 8            46.    Without admitting that the studies cited in Paragraph 46 of Plaintiff’s Complaint
 9   are relevant to this action, those studies speak for themselves and, on that basis, Paragraph 46
10   does not require an answer. However, to the extent the allegations in Paragraph 46 do not
11   accurately reflect those studies, Premier denies the allegations.
12            47.    Without admitting that the study cited in Paragraph 47 of Plaintiff’s Complaint is
13   relevant to this action, that study speaks for itself and, on that basis, Paragraph 47 does not
14   require an answer. However, to the extent the allegations in Paragraph 47 do not accurately
15   reflect the study, Premier denies the allegations.
16            48.    Without admitting that the studies cited in Paragraph 48 of Plaintiff’s Complaint
17   are relevant to this action, those studies speak for themselves and, on that basis, Paragraph 48
18   does not require an answer. However, to the extent the allegations in Paragraph 48 do not
19   accurately reflect the studies, Premier denies the allegations.
20            49.    Without admitting that the study cited in Paragraph 49 of Plaintiff’s Complaint is
21   relevant to this action, that study speaks for itself and, on that basis, Paragraph 49 does not
22   require an answer. However, to the extent the allegations in Paragraph 49 do not accurately
23   reflect the study, Premier denies the allegations.
24            50.    Answering Paragraph 50 of Plaintiff’s Complaint, Plaintiff does not identify the
25   studies on which he bases his allegations and accordingly, Premier lacks sufficient knowledge
26   or information to form a belief as to those studies.
27            51.    Answering Paragraph 51 of Plaintiff’s Complaint, Plaintiff does not identify the
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                                                          -10-
                                                                    PREMIER NUTRITION CORPORATION’S
                                                                 ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                  AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 11 of 27



 1   studies on which he bases his allegations and accordingly, Premier lacks sufficient knowledge
 2   or information to form a belief as to those studies.
 3            52.   Without admitting that the study cited in Paragraph 52 of Plaintiff’s Complaint is
 4   relevant to this action, that study speaks for itself and, on that basis, Paragraph 52 does not
 5   require an answer. However, to the extent the allegations in Paragraph 52 do not accurately
 6   reflect the study, Premier denies the allegations.
 7            53.   Without admitting that the study cited in Paragraph 53 of Plaintiff’s Complaint is
 8   relevant to this action, that study speaks for itself and, on that basis, Paragraph 53 does not
 9   require an answer. However, to the extent the allegations in Paragraph 53 do not accurately
10   reflect the study, Premier denies the allegations.
11            54.   Answering Paragraph 54 of Plaintiff’s Complaint, Premier denies that there is
12   uniform consensus that glucosamine and chondroitin do not work. Without admitting that the
13   guidelines cited in Paragraph 54 of Plaintiff’s Complaint are relevant to this action, the
14   guidelines speak for themselves and, to that extent, Paragraph 54 does not require an answer.
15   However, to the extent the allegations in Paragraph 54 do not accurately reflect the guidelines,
16   Premier denies the allegations. Premier denies each and every other allegation not specifically
17   admitted.
18            55.   Without admitting that the studies and guidelines cited in Paragraph 55 of
19   Plaintiff’s Complaint are relevant to this action, the studies and guidelines speak for themselves
20   and, on that basis, Paragraph 55 does not require an answer. However, to the extent the
21   allegations in Paragraph 55 do not accurately reflect the studies and guidelines, Premier denies
22   the allegations.
23            56.   Without admitting that the guidelines cited in Paragraph 56 of Plaintiff’s
24   Complaint are relevant to this action, the guidelines speak for themselves and, on that basis,
25   Paragraph 56 does not require an answer. However, to the extent the allegations in Paragraph 56
26   do not accurately reflect the guidelines, Premier denies the allegations.
27            57.   Without admitting that the guidelines cited in Paragraph 57 of Plaintiff’s
28
                                                          -11-
                                                                    PREMIER NUTRITION CORPORATION’S
                                                                 ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                  AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 12 of 27



 1   Complaint are relevant to this action, the guidelines speak for themselves and, on that basis,
 2   Paragraph 57 does not require an answer. However, to the extent the allegations in Paragraph 57
 3   do not accurately reflect the guidelines, Premier denies the allegations.
 4            58.   Without admitting that the study cited in Paragraph 58 of Plaintiff’s Complaint is
 5   relevant to this action, that study speaks for itself and, on that basis, Paragraph 58 does not
 6   require an answer. However, to the extent the allegations in Paragraph 58 do not accurately
 7   reflect the study, Premier denies the allegations.
 8            59.   Without admitting that the study cited in Paragraph 59 of Plaintiff’s Complaint is
 9   relevant to this action, that study speaks for itself and, on that basis, Paragraph 59 does not
10   require an answer. However, to the extent the allegations in Paragraph 59 do not accurately
11   reflect the study, Premier denies the allegations. Premier denies each and every other allegation
12   in Paragraph 59.
13            60.   Without admitting that the study cited in Paragraph 60 of Plaintiff’s Complaint is
14   relevant to this action, that study speaks for itself and on that basis, Paragraph 60 does not
15   require an answer. However, to the extent the allegations in Paragraph 60 do not accurately
16   reflect the study, Premier denies the allegations.
17            61.   Without admitting that the study cited in Paragraph 61 of Plaintiff’s Complaint is
18   relevant to this action, that study speaks for itself and, on that basis, Paragraph 61 does not
19   require an answer. However, to the extent the allegations in Paragraph 61 do not accurately
20   reflect the study, Premier denies the allegations.
21            62.   Without admitting that the study cited in Paragraph 62 of Plaintiff’s Complaint is
22   relevant to this action, that study speaks for itself and, on that basis, Paragraph 62 does not
23   require an answer. However, to the extent the allegations in Paragraph 62 do not accurately
24   reflect the study, Premier denies the allegations.
25            63.   Without admitting that the study cited in Paragraph 63 of Plaintiff’s Complaint is
26   relevant to this action, that study speaks for itself and, on that basis, Paragraph 63 does not
27   require an answer. However, to the extent the allegations in Paragraph 63 do not accurately
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                                                          -12-
                                                                    PREMIER NUTRITION CORPORATION’S
                                                                 ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                  AMENDED COMPLAINT
     21478775-v2
         Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 13 of 27



 1   reflect the study, Premier denies the allegations.
 2            64.    Without admitting that the study cited in Paragraph 64 of Plaintiff’s Complaint is
 3   relevant to this action, that study speaks for itself and, on that basis, Paragraph 64 does not
 4   require an answer. However, to the extent the allegations in Paragraph 64 do not accurately
 5   reflect the study, Premier denies the allegations.
                                                       3
 6   The Impact of Defendant’s Wrongful Conduct
 7            65.    Answering Paragraph 65 of Plaintiff’s Complaint, Premier admits that it sells the
 8   Products as a dietary supplement to help maintain and support joint well-being, as limited by the
 9   disclaimer on the Products’ labeling and Joint Juice website that states that the Products “are not
10   intended to diagnose, treat, cure or prevent any disease.” To the extent Plaintiff refers to
11   Premier’s advertising, marketing, packaging, and/or Product labeling, that material has varied
12   over time and speaks for itself. Premier denies each and every other allegation in Paragraph 65
13   not specifically admitted.
14            66.    Answering Paragraph 66 of Plaintiff’s Complaint, Paragraph 66 contains legal
15   conclusions and to that extent does not require an answer.
16            67.    Answering Paragraph 67 of Plaintiff’s Complaint, Premier denies each of the
17   allegations contained in Paragraph 67.
18            68.    Paragraph 68 of Plaintiff’s Complaint contains legal conclusions, and to that
19   extent does not require an answer. To the extent that Paragraph 68 requires an answer, Premier
20   lacks sufficient knowledge or information to form a belief as to whether Mr. Simmons
21   purchased the referenced Product, his belief regarding the Product or its related advertisement
22   or labeling, and his reasons for allegedly purchasing the product; on that basis, Premier denies
23   these allegations in Paragraph 68. Premier denies each and every other allegation in Paragraph
24   68.
25            69.    Answering Paragraph 69 of Plaintiff’s Complaint, retail prices for the Products
26
     3
27    Plaintiff’s allegation contains legal conclusions not requiring an answer. To the extent this
     statement requires an answer, Premier denies this allegation in its entirety.
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                                                          -13-
                                                                    PREMIER NUTRITION CORPORATION’S
                                                                 ANSWER TO PLTF. MOSES SIMMONS’ FIRST
         Case No. 3:16-CV-07078-RS                                                AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 14 of 27



 1   have varied. Premier denies each and every other allegation in Paragraph 69.
 2                          CLASS DEFINITION AND ALLEGATIONS
 3            70.   Paragraph 70 of Plaintiff’s Complaint contains legal conclusions, and to that
 4   extent does not require an answer. To the extent that Paragraph 70 requires an answer, Premier
 5   denies each of the allegations contained in Paragraph 70.
 6            71.   Paragraph 71 of Plaintiff’s Complaint contains legal conclusions, and to that
 7   extent does not require an answer. To the extent that Paragraph 71 requires an answer, Premier
 8   denies each of the allegations contained in Paragraph 71.
 9            72.   Paragraph 72 of Plaintiff’s Complaint contains legal conclusions, and to that
10   extent does not require an answer. To the extent that Paragraph 72 requires an answer, Premier
11   denies each of the allegations contained in Paragraph 72.
12            73.   Paragraph 73 of Plaintiff’s Complaint contains legal conclusions, and to that
13   extent does not require an answer. To the extent that Paragraph 73 requires an answer, Premier
14   denies each of the allegations contained in Paragraph 73.
15            74.   Paragraph 74 of Plaintiff’s Complaint contains legal conclusions, and to that
16   extent does not require an answer. To the extent that Paragraph 74 requires an answer, Premier
17   denies each of the allegations contained in Paragraph 74.
18            75.   Paragraph 75 of Plaintiff’s Complaint contains legal conclusions, and to that
19   extent does not require an answer. To the extent that Paragraph 75 requires an answer, Premier
20   denies each of the allegations contained in Paragraph 75.
21            76.   Paragraph 76 of Plaintiff’s Complaint contains legal conclusions, and to that
22   extent does not require an answer. To the extent that Paragraph 76 requires an answer, Premier
23   denies each of the allegations contained in Paragraph 76.
24            77.   Paragraph 77 of Plaintiff’s Complaint contains legal conclusions, and to that
25   extent does not require an answer. To the extent that Paragraph 77 requires an answer, Premier
26   denies each of the allegations contained in Paragraph 77.
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28
                                                     -14-
                                                               PREMIER NUTRITION CORPORATION’S
                                                            ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                             AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 15 of 27



 1                                         CLAIMS ALLEGED
 2                                                COUNT I
 3                          Violation of Michigan Consumer Protection Act
 4                                 Mich. Comp. Laws §§445.901, et seq.
 5            78.   Answering Paragraph 78 of Plaintiff’s Complaint, Premier incorporates by
 6   reference and repleads all of the admissions, denials, and allegations contained in Paragraphs 1-
 7   77 above.
 8            79.   Paragraph 79 of Plaintiff’s Complaint contains legal conclusions, and to that
 9   extent does not require an answer. To the extent that Paragraph 79 requires an answer, Premier
10   denies each of the allegations contained in Paragraph 79.
11            80.   Paragraph 80 of Plaintiff’s Complaint contains legal conclusions, and to that
12   extent does not require an answer. To the extent that Paragraph 80 requires an answer, Premier
13   denies each of the allegations contained in Paragraph 80.
14            81.   Answering Paragraph 81 of Plaintiff’s Complaint, to the extent Paragraph 81 of
15   Plaintiff’s Complaint accurately references and quotes Section 445.903 of Michigan Compiled
16   Laws, the statute speaks for itself. However, to the extent Paragraph 81 does not accurately
17   reflect the statute, and/or to the extent it contains a legal conclusion, Premier denies each of the
18   allegations contained in Paragraph 81.
19            82.   Answering Paragraph 82 of Plaintiff’s Complaint, to the extent Paragraph 82 of
20   Plaintiff’s Complaint accurately references and quotes Section 445.903 of Michigan Compiled
21   Laws, the statute speaks for itself. However, to the extent Paragraph 82 does not accurately
22   reflect the statute, and/or to the extent it contains a legal conclusion, Premier denies each of the
23   allegations contained in Paragraph 82.
24            83.   Paragraph 83 of Plaintiff’s Complaint contains legal conclusions, and to that
25   extent does not require an answer. To the extent that Paragraph 83 requires an answer, Premier
26   denies each of the allegations contained in Paragraph 83.
27            84.   Paragraph 84 of Plaintiff’s Complaint contains legal conclusions, and to that
28
                                                       -15-
                                                                 PREMIER NUTRITION CORPORATION’S
                                                              ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                               AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 16 of 27



 1   extent does not require an answer. To the extent that Paragraph 84 requires an answer, Premier
 2   denies each of the allegations contained in Paragraph 84.
 3            85.   Paragraph 85 of Plaintiff’s Complaint contains legal conclusions, and to that
 4   extent does not require an answer. To the extent that Paragraph 85 requires an answer, Premier
 5   denies each of the allegations contained in Paragraph 85.
 6            86.   Paragraph 86 of Plaintiff’s Complaint contains legal conclusions, and to that
 7   extent does not require an answer. To the extent that Paragraph 86 requires an answer, Premier
 8   denies each of the allegations contained in Paragraph 86.
 9                                              COUNT II
10                         Breach of Implied Warranty of Merchantability
11            87.   Answering Paragraph 87 of Plaintiff’s Complaint, Premier incorporates by
12   reference and repleads all of the admissions, denials, and allegations contained in Paragraphs 1-
13   86 above.
14            88.   Paragraph 88 of Plaintiff’s Complaint contains legal conclusions, and to that
15   extent does not require an answer. To the extent that Paragraph 88 requires an answer, Premier
16   denies each of the allegations contained in Paragraph 88.
17            89.   Paragraph 89 of Plaintiff’s Complaint contains legal conclusions, and to that
18   extent does not require an answer. To the extent that Paragraph 89 requires an answer, Premier
19   denies each of the allegations contained in Paragraph 89.
20            90.   Answering Paragraph 90 of Plaintiff’s Complaint, Premier lacks sufficient
21   knowledge or information to form a belief as to whether Mr. Simmons and/or the alleged Class
22   members in fact purchased the referenced Products; on that basis, Premier denies these
23   allegations in Paragraph 90.
24            91.   Paragraph 91 of Plaintiff’s Complaint contains legal conclusions, and to that
25   extent does not require an answer. To the extent that Paragraph 91 requires an answer, Premier
26   denies each of the allegations contained in Paragraph 91.
27            92.   Paragraph 92 of Plaintiff’s Complaint contains legal conclusions, and to that
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                                                     -16-
                                                               PREMIER NUTRITION CORPORATION’S
                                                            ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                             AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 17 of 27



 1   extent does not require an answer. To the extent that Paragraph 92 requires an answer, Premier
 2   denies each of the allegations contained in Paragraph 92.
 3            93.   Paragraph 93 of Plaintiff’s Complaint contains legal conclusions, and to that
 4   extent does not require an answer. To the extent that Paragraph 93 requires an answer, Premier
 5   denies each of the allegations contained in Paragraph 93.
 6            94.   Paragraph 94 of Plaintiff’s Complaint contains legal conclusions, and to that
 7   extent does not require an answer. To the extent that Paragraph 94 requires an answer, Premier
 8   denies each of the allegations contained in Paragraph 94.
 9            95.   Paragraph 95 of Plaintiff’s Complaint contains legal conclusions, and to that
10   extent does not require an answer. To the extent that Paragraph 95 requires an answer, Premier
11   denies each of the allegations contained in Paragraph 95.
12            96.   Paragraph 96 of Plaintiff’s Complaint contains legal conclusions, and to that
13   extent does not require an answer. To the extent that Paragraph 96 requires an answer, Premier
14   denies each of the allegations contained in Paragraph 96.
15            97.   Paragraph 97 of Plaintiff’s Complaint contains legal conclusions, and to that
16   extent does not require an answer. To the extent that Paragraph 97 requires an answer, Premier
17   denies each of the allegations contained in Paragraph 97.
18                                             COUNT III
19                          Violation of the Magnuson-Moss Warranty Act
20                                      15 U.S.C. §§ 2301, et seq.
21            98.   Answering Paragraph 98 of Plaintiff’s Complaint, Premier incorporates by
22   reference and repleads all of the admissions, denials, and allegations contained in Paragraph 1-
23   97 above.
24            99.   Answering Paragraph 99 of Plaintiff’s Complaint, to the extent Paragraph 99
25   references 15 U.S.C. § 2310(d)(1)(A), the statute speaks for itself. However, to the extent
26   Paragraph 99 does not accurately reflect the statute, and/or to the extent Paragraph 99 contains a
27   legal conclusion, Premier denies each of the allegations contained in Paragraph 99.
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                                                      -17-
                                                                PREMIER NUTRITION CORPORATION’S
                                                             ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                              AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 18 of 27



 1            100.   Paragraph 100 of Plaintiff’s Complaint contains legal conclusions, and to that
 2   extent does not require an answer. To the extent that Paragraph 100 requires an answer, Premier
 3   denies each of the allegations contained in Paragraph 100.
 4            101.   Paragraph 101 of Plaintiff’s Complaint contains legal conclusions, and to that
 5   extent does not require an answer. To the extent that Paragraph 101 requires an answer, Premier
 6   denies each of the allegations contained in Paragraph 101.
 7            102.   Paragraph 102 of Plaintiff’s Complaint contains legal conclusions, and to that
 8   extent does not require an answer. To the extent that Paragraph 102 requires an answer, Premier
 9   denies each of the allegations contained in Paragraph 102.
10            103.   Paragraph 103 of Plaintiff’s Complaint contains legal conclusions, and to that
11   extent does not require an answer. To the extent that Paragraph 103 requires an answer, Premier
12   denies each of the allegations contained in Paragraph 103.
13            104.   Paragraph 104 of Plaintiff’s Complaint contains legal conclusions, and to that
14   extent does not require an answer. To the extent that Paragraph 104 requires an answer, Premier
15   denies each of the allegations contained in Paragraph 104.
16            105.   Paragraph 105 of Plaintiff’s Complaint contains legal conclusions, and to that
17   extent does not require an answer. To the extent that Paragraph 105 requires an answer, Premier
18   denies each of the allegations contained in Paragraph 105.
19            106.   Paragraph 106 of Plaintiff’s Complaint contains legal conclusions, and to that
20   extent does not require an answer. To the extent that Paragraph 106 requires an answer, Premier
21   denies each of the allegations contained in Paragraph 106.
22            107.   Paragraph 107 of Plaintiff’s Complaint contains legal conclusions, and to that
23   extent does not require an answer. To the extent that Paragraph 107 requires an answer, Premier
24   denies each of the allegations contained in Paragraph 107.
25                                              COUNT IV
26                                          Unjust Enrichment
27            108.   Answering Paragraph 108 of Plaintiff’s Complaint, Premier incorporates by
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                                                      -18-
                                                                PREMIER NUTRITION CORPORATION’S
                                                             ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                              AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 19 of 27



 1   references and repleads all of the admissions, denials, and allegations contained in Paragraphs
 2   1-107 above.
 3             109.   Paragraph 109 of Plaintiff’s Complaint contains legal conclusions, and to that
 4   extent does not require an answer. To the extent that Paragraph 109 requires an answer, Premier
 5   denies each of the allegations contained in Paragraph 109.
 6             110.   Paragraph 110 of Plaintiff’s Complaint contains legal conclusions, and to that
 7   extent does not require an answer. To the extent that Paragraph 110 requires an answer, Premier
 8   denies each of the allegations contained in Paragraph 110.
 9             111.   Paragraph 111 of Plaintiff’s Complaint contains legal conclusions, and to that
10   extent does not require an answer. To the extent that Paragraph 111 requires an answer, Premier
11   denies each of the allegations contained in Paragraph 111.
12             112.   Paragraph 112 of Plaintiff’s Complaint contains legal conclusions, and to that
13   extent does not require an answer. To the extent that Paragraph 112 requires an answer, Premier
14   denies each of the allegations contained in Paragraph 112.
15             113.   Paragraph 113 of Plaintiff’s Complaint contains legal conclusions, and to that
16   extent does not require an answer. To the extent that Paragraph 113 requires an answer, Premier
17   denies each of the allegations contained in Paragraph 113.
18             114.   Paragraph 114 of Plaintiff’s Complaint contains legal conclusions, and to that
19   extent does not require an answer. To the extent that Paragraph 114 requires an answer, Premier
20   denies each of the allegations contained in Paragraph 114.
21                                              JURY DEMAND
22             Premier respectfully makes a demand for a trial by jury on claims and issues so triable.
23                                         REQUEST FOR RELIEF
24             Premier denies that Plaintiff is entitled to any of the relief sought in his Request for
25   Relief.
26                                       AFFIRMATIVE DEFENSES
27             Without assuming the burden of proof on any matters that would otherwise rest with
28
                                                         -19-
                                                                   PREMIER NUTRITION CORPORATION’S
                                                                ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                 AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 20 of 27



 1   Plaintiff, and expressly denying any and all wrongdoing, Premier alleges the following
 2   additional reasons why Plaintiff is not entitled to any relief:
 3                                   FIRST AFFIRMATIVE DEFENSE
 4                                      (Equitable Relief Unavailable)
 5            Plaintiff is not entitled to equitable relief because, if Plaintiff is entitled to a remedy,
 6   which Premier denies, Plaintiff has adequate legal remedies. No threat of immediate harm exists
 7   sufficient to support a grant of injunctive relief.
 8                                  SECOND AFFIRMATIVE DEFENSE
 9                                         (Failure to State a Claim)
10            The Complaint fails to state a claim against Premier on which relief can be granted.
11                                   THIRD AFFIRMATIVE DEFENSE
12                                                (No Standing)
13            Plaintiff is not entitled to relief under the statutes and legal theories invoked in his
14   Complaint because plaintiff lacks standing.
15                                 FOURTH AFFIRMATIVE DEFENSE
16                                      (No Deceptive Act or Practice)
17            Plaintiff’s claims are barred, in whole or in part, because there was no deceptive act or
18   practice. Each and every representation and advertisement for the Products clearly and
19   accurately portrayed the characteristics, ingredients, uses, benefits, quantities, standard, quality,
20   and grade of the Products.
21                                   FIFTH AFFIRMATIVE DEFENSE
22                                           (No Intent to Deceive)
23            Plaintiff is precluded from recovery on his fraud- and misrepresentation-based claims
24   because the misrepresentations and actions alleged by Plaintiff were not intended to deceive
25   Plaintiff.
26

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                                                                     PREMIER NUTRITION CORPORATION’S
                                                                  ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                   AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 21 of 27



 1                                   SIXTH AFFIRMATIVE DEFENSE
 2                                      (Not Likely to Mislead Public)
 3            None of Premier’s acts, conduct, omissions, or statements alleged in the Complaint were
 4   likely to mislead the public.
 5                                 SEVENTH AFFIRMATIVE DEFENSE
 6                                      (Lack of Justifiable Reliance)
 7            Plaintiff’s claims are barred, in whole or in part, because Plaintiff knew, at all times, the
 8   characteristics, ingredients, uses, benefits, quantities, standard, quality, and grade of the joint
 9   Juice Products and therefore could not have justifiably relied on the alleged misrepresentation or
10   omissions asserted in his Complaint.
11                                   EIGHTH AFFIRMATIVE DEFENSE
12                                         (Performance of Duties)
13            Premier has fully performed any and all contractual, statutory, and other duties, and
14   Plaintiff is therefore estopped from asserting any cause of action against Premier.
15                                   NINETH AFFIRMATIVE DEFENSE
16                                        (Substantial Compliance)
17            Premier has substantially complied with the requirements of the law as they pertain to
18   this lawsuit and such substantial compliance bars Plaintiff’s claims.
19                                   TENTH AFFIRMATIVE DEFENSE
20                       (Actions Pursuant to Local, State or Federal Authority)
21            Premier is not liable for any acts or omissions undertaken by or at the direction of local,
22   state or federal authority, including, without limitation, acts or omissions made in accordance
23   with regulations, ordinances, statutes, and laws applicable at the time of the acts or omissions at
24   issue.
25                               ELEVENTH AFFIRMATIVE DEFENSE
26                                          (Conduct Not Unfair)
27            The representations and advertising regarding the Products are not unfair. No
28
                                                        -21-
                                                                  PREMIER NUTRITION CORPORATION’S
                                                               ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 22 of 27



 1   representation or advertisement contains any false or misleading statement or promises any
 2   good not intended to be delivered. As such, the representations and advertising are not, and
 3   were not, unfair.
 4                               TWELFTH AFFIRMATIVE DEFENSE
 5                                        (Conduct Not Unlawful)
 6            The representations and advertising regarding the Products are not unlawful because
 7   they are not, and were not, in violation of any law or regulation.
 8                             THIRTEENTH AFFIRMATIVE DEFENSE
 9                                             (Cause in Fact)
10            No act or omission by Premier or by any person or entity for which Premier was
11   responsible was the cause of any injury in fact, damages, or loss of money or property alleged
12   by Plaintiff.
13                            FOURTEENTH AFFIRMATIVE DEFENSE
14                                         (No Proximate Cause)
15            Plaintiff’s claims are barred, in whole or in part, because Premier has not engaged in any
16   activity or conduct that is a proximate cause of any injury in fact, damages, or loss of money or
17   property alleged by Plaintiff.
18                              FIFTEENTH AFFIRMATIVE DEFENSE
19                                         (Superseding Causes)
20            Any and all violations alleged in Plaintiff’s Complaint were the result of superseding or
21   intervening causes arising from the acts or omissions of parties that Premier neither controlled
22   nor had a legal right to control, and such alleged violations were not proximately or otherwise
23   caused by any act, omission, or other conduct of Premier.
24                              SIXTEENTH AFFIRMATIVE DEFENSE
25                                          (Failure to Mitigate)
26            If Plaintiff has suffered any damages or injury in fact, which Premier expressly denies,
27   Premier alleges that Plaintiff’s recovery is barred by his failure to mitigate, reduce, or otherwise
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                                                       -22-
                                                                 PREMIER NUTRITION CORPORATION’S
                                                              ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                               AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 23 of 27



 1   avoid damages or injuries.
 2                              SEVENTEENTH AFFIRMATIVE DEFENSE
 3                                           (Aggravation of Harm)
 4            To the extent any harm exists, Premier is informed and believes and, on that basis,
 5   alleges that Plaintiff’s actions have aggravated such harm, and thus, any recovery from
 6   Plaintiff’s Complaint for such harm should be barred or reduced accordingly.
 7                              EIGHTEENTH AFFIRMATIVE DEFENSE
 8                              (Equitable Estoppel and Equitable Indemnity)
 9            Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrines of equitable
10   estoppel and equitable indemnity.
11                              NINETEENTH AFFIRMATIVE DEFENSE
12                                 (Res Judicata and Collateral Estoppel)
13            All or some of Plaintiff’s alleged claims and issues are barred by prior judgment by the
14   doctrines of res judicata and collateral estoppel.
15                                 TWENTY AFFIRMATIVE DEFENSE
16                                                 (Waiver)
17            Based on Plaintiff’s conduct, Plaintiff’s claims are barred by the doctrine of waiver.
18                              TWENTY-FIRST AFFIRMATIVE DEFENSE
19                                         (Statute of Limitations)
20            Plaintiff’s claims and damages are barred, reduced, and/or limited by the applicable
21   statutes of limitations.
22                          TWENTY-SECOND AFFIRMATIVE DEFENSE
23                                                 (Laches)
24            By virtue of Plaintiff’s unreasonable delay in commencing this action, which duly has
25   caused prejudice to Premier, the Complaint and each purported cause of action asserted therein
26   are barred by the doctrine of laches.
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                                                          -23-
                                                                    PREMIER NUTRITION CORPORATION’S
                                                                 ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                  AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 24 of 27



 1                            TWENTY-THIRD AFFIRMATIVE DEFENSE
 2                                             (Unclean Hands)
 3            The Complaint and each and every purported claim against Premier is barred by the
 4   doctrine of unclean hands in that Plaintiff’s own actions have caused the damages Plaintiff may
 5   have incurred, if any.
 6                            TWENTY-FOURTH AFFIRMATIVE DEFENSE
 7                                             (No Actual Injury)
 8            Plaintiff is not entitled to relief under the legal theories invoked in the Complaint
 9   because Plaintiff suffered no actual injury and suffered no damages.
10                            TWENTY-FIFTH AFFIRMATIVE DEFENSE
11                                   (Not Maintainable As Class Action)
12            Premier alleges that this action is barred in whole or in part because Plaintiff’s claims
13   are not maintainable as a class action.
14                            TWENTY-SIXTH AFFIRMATIVE DEFENSE
15                                           (Unjust Enrichment)
16            Any award to the Plaintiff in this action would constitute unjust enrichment.
17                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE
18                                       (Attorneys’ Fees Improper)
19            Plaintiff’s Complaint fails to state a claim or set forth facts sufficient to support a claim
20   for attorneys’ fees.
21                            TWENTY-EIGHTH AFFIRMATIVE DEFENSE
22                                               (Uncertainty)
23            The Complaint and the cause of action therein presented are vague, ambiguous, and
24   uncertain. Premier reserves the right to add additional defenses as the factual bases for each of
25   Plaintiff’s claims and allegations becomes known.
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                                                         -24-
                                                                   PREMIER NUTRITION CORPORATION’S
                                                                ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                 AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 25 of 27



 1                            TWENTY-NINTH AFFIRMATIVE DEFENSE
 2                                                 (Puffing)
 3            Plaintiff’s claims are barred to the extent that any alleged deceptive statements constitute
 4   puffery, and no reasonable person in Plaintiff’s position could have reasonably relied on or
 5   misunderstood Premier’s statements.
 6                                 THIRTY AFFIRMATIVE DEFENSE
 7                                                (Mootness)
 8            Plaintiff is not entitled to an injunction to the extent Premier has already ceased the
 9   allegedly unlawful conduct.
10                             THIRTY-FIRST AFFIRMATIVE DEFENSE
11                                    (Equities in Favor of Defendants)
12            Plaintiff is barred from recovering the relief sought in the Complaint because the
13   equities weigh in favor of Premier.
14                           THIRTY-SECOND AFFIRMATIVE DEFENSE
15                                   (Violation of Right to Free Speech)
16            To the extent Plaintiff purports to seek equitable relief to mandate the specific content of
17   Premier’s advertising or the content of the Products labels, Plaintiff’s Complaint violates
18   Premier’s right to freedom of speech under the First Amendment of the United States
19   Constitution and the Michigan Constitution, Article I, § 5.
20                            THIRTY-THIRD AFFIRMATIVE DEFENSE
21                                                  (Set-off)
22            Any recovery by plaintiff should be offset and diminished by the value to the general
23   public of the use of the Products.
24                           THIRTY-FOURTH AFFIRMATIVE DEFENSE
25                                 (Punitive Damages Are Not Available)
26            Plaintiff’s claims do not permit the recovery of punitive damages.
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                                                        -25-
                                                                   PREMIER NUTRITION CORPORATION’S
                                                                ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                                 AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 26 of 27



 1                            THIRTY-FIFTH AFFIRMATIVE DEFENSE
 2                                 (Reservation of Additional Defenses)
 3            Premier hereby reserves the right to amend its answer to raise additional affirmative
 4   defenses as they become available or apparent to it through discovery in this matter or
 5   otherwise.
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                                                                 PREMIER NUTRITION CORPORATION’S
                                                              ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                               AMENDED COMPLAINT
     21478775-v2
      Case 3:16-cv-07078-RS Document 34 Filed 10/25/18 Page 27 of 27



 1   WHEREFORE, having fully answered Plaintiff’s Complaint, Premier prays for judgment as
 2   follows:
 3            1.   That Plaintiff takes nothing for his Complaint and that the Complaint be
 4                 dismissed with prejudice;
 5            2.   That the request for injunctive relief be denied;
 6            3.   That Premier be awarded its costs of suit;
 7            4.   That the request for attorneys’ fees and costs by Plaintiff and his counsel be
 8                 denied; and,
 9            5.   For such other and further relief as the Court deems just and proper.
10

11
                                                    VENABLE LLP
12    Dated: October 25, 2018                       ANGEL A. GARGANTA (163957)
                                                    JESSICA L. GRANT (178138)
13                                                  BRIAN A. FEATHERSTUN (292625)
14

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                                                     -27-
                                                               PREMIER NUTRITION CORPORATION’S
                                                            ANSWER TO PLTF. MOSES SIMMONS’ FIRST
       Case No. 3:16-CV-07078-RS                                             AMENDED COMPLAINT
     21478775-v2
